813 F.2d 1227Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Charles Edward BECHTELL, Petitioner-Appellant,v.Wayne B. WINEBRENNER, Warden, Respondent-Appellee.
    No. 86-6677.
    United States Court of Appeals, Fourth Circuit.
    Submitted Jan. 30,1987.Decided March 12, 1987.
    
      Before WIDENER, SPROUSE and CHAPMAN, Circuit Judges.
      Charles Edward Bechtel, appellant pro se.
      PER CURIAM:
    
    
      1
      A review of the record and the district court's opinion discloses that an appeal from its order refusing habeas corpus relief pursuant to 28 U.S.C.  SS 2254 would be without merit.  Because the dispositive issues recently have been decided authoritatively, we deny a certificate of probable cause to appeal, dispense with oral argument, and dismiss the appeal on the reasoning of the district court.  Bechtel v. Winebrenner, C/A No. 85-3162-JFM (D.Md., July 11, 1986).
    
    DISMISSED
    